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LIW/COG: USAO#2021RO0214

IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF MARYLAND

 

 

 

UNITED STATES OF AMERICA Criminal No.

v. (Theft of Government Property, 18 U.S.C. §
641; False Statements to Federal Law
ETHAN GLOVER, Enforcement, 18 U.S.C. § 1001; Forfeiture,
18 U.S.C. § 981(a)(1)(C), 21 U.S.C. § 853(p),

Defendant 28 U.S.C. § 2461(c))

 

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INDICTMENT

The Grand Jury for the District of Maryland charges that at all times releyant to

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COUNT ONE
(Theft of Government Property)

Introduction

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1. The Baltimore Police Department (“BPD”) was an agency of the State of Maryland

whose law enforcement jurisdiction includes Maryland's largest city, Baltimore.

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Ethics, which provides, in pertinent part:

As a Law Enforcement Officer, my fundamental duty is to serve the
community; to safeguard lives and property; to protect the innocent
against deception, the weak against oppression or intimidation: the
peaceful against violence or disorder; and to respect the
constitutional rights of all to liberty, equality and justice. Honest in
thought and deed both in my personal and official life, 1 will be
exemplary in obeying the law and the regulations of my department
... | recognize the badge of my office as a symbol of public faith
and | accept it as a public trust to be held so Jong as | am true to the
ethics of police service.

3. ETHAN GLOVER (“GLOVER”) joined the BPD on February 19, 2003.

Sworn members of the BPD must abide by the Law Enforcement Officer's Code of
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12.

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In 2013, GLOVER became a federal task force officer (TFO) with the United States Drug

Enforcement Administration (DEA).

April 8, 2016 Seizure
In 2016, GLOVER was a member of DEA Group 51.

On April 8, 2016, GLOVER, participated in the execution of a search warrant on John
Avenue in Baltimore, Maryland, as a member of DEA Group 51.

In the basement of the house three (3) duffel bags were found containing large amounts
of cash.

On the dining room table, a hand-written document with currency totals was recovered.
The document recorded that there was $2,428,900 in cash in the house.

GLOVER transported the cash from the residence on John Avenue to another location
where a search warrant had been executed and ultimately to the DEA Baltimore Office,
alone in his vehicle the entire time.

During the course of the ride from John Avenue to the DEA Baltimore Office, GLOVER

stole a portion of the cash seized at John Avenue.

. Ultimately, GLOVER brought the money seized at John Avenue to a professional

counting service because it was such a large amount. The amount, inclusive of any
suspected counterfeit bills, was found to be $2,419,125 in other words, $9,775, less than
what was actually seized at John Avenue, according to the handwritten document
recovered at John Avenue.

After the execution of the search warrant, GLOVER went to his then-girlfriend’s
apartment with what GLOVER described to her as $10,000 in cash in individual bundles
or stacks. GLOVER hid the $10,000 in her bathroom. GLOVER further explained that

while he was driving the cash from the search warrant site, he was followed by another

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TFO. GLOVER also told his then-girlfriend that the money came from a “big case” that
had been in the news. Approximately one week later, GLOVER moved the money from
his then-girlfriend’s apartment to his home. During conversations about this money,
GLOVER explained to her that he had been called to assist with a large volume money
seizure and that while he was driving the money from the location where it was seized, he
stole $10,000.

13. TFO C. had in fact followed GLOVER when he transported the seized funds from John
Avenue to the Baltimore DEA Office.

14. After the execution of the search warrant, GLOVER kept an official document recording
the money he had turned in for counting at his home. The document was later recovered
from GLOVER’s home in 2020.

15. On April 23, 2016, GLOVER used some of the cash he had stolen from John Avenue to
buy his then-girlfriend, in whose apartment he had hidden the money, a pair of shoes
worth $295 at Neiman Marcus at the King of Prussia Mall in King of Prussia.
Pennsylvania.

16. In June 2016, GLOVER’s then-girlfriend moved into his home and saw a large sum of
cash hidden behind GLOVER’s refrigerator.

The Charge
17. On or about the 8th day of April, 2016, in the District of Maryland, the defendant,
ETHAN GLOVER
willfully and knowingly did steal and purloin cash seized in the execution of a search
warrant on John Avenue, of a value exceeding $1,000, of the goods and property of the
United States.

18 U.S.C. § 641.
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COUNT TWO
(False Statement to Federal Law Enforcement)

The Grand Jury for the District of Maryland further charges that:

Paragraphs one through 16 of Count One are realleged and incorporated herein.

. On March 1, 2017, seven members of the BPD’s Gun Trace Task Force were arrested on
federal racketeering charges, including W.J. Following the filing of charges, the FBI
continued to investigate misconduct by members of the BPD.

. On February 28, 2020, GLOVER agreed to participate in a voluntary interview with the
FBI. Asa DEA TFO, GLOVER knew it was a crime to make false statements during a
voluntary interview with federal law enforcement. Further, at the beginning of this
particular interview, GLOVER was told it was a crime to lie to the FBI TFOs
interviewing him and he acknowledged that he understood.

The FBI TFOs questioned GLOVER about a seizure that had occurred with W.J., the
officer-in-charge of the GTTF. GLOVER asked the interviewing TFOs how much
money the arrestee “is saying is missing? Is it money or drugs? How much did he say he
had? A million?” or words to that effect. GLOVER told investigators that he did not
witness any officer steal money during this particular seizure. GLOVER told
investigators that he did not steal money from this particular seizure or any other case.
GLOVER then told the interviewing agents, “I’ve never stolen anything in my life.

Never money or drugs.”
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The Charge

5. On or about February 28, 2020, in the District of Maryland, the defendant,
ETHAN GLOVER,

did willfully and knowingly make a materially false, fictitious, and fraudulent statement
and representation in a matter within the jurisdiction of the executive branch of the
Government of the United States, by denying he had ever stolen any money to the FBI at
the FBI's Baltimore Field Office in Woodlawn, Maryland, in the District of Maryland.
The statements and representations were false because, as GLOVER then and there knew,
he had stolen approximately $10,000 from funds seized during the execution of a search
warrant by DEA Group 51 on April 8, 2016, at John Avenue in Baltimore, Maryland.

18 U.S.C. § 1001.
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FORFEITURE ALLEGATION
The Grand Jury for the District of Maryland further finds that:
1. Pursuant to Federal Rule of Criminal Procedure 32.2, notice is hereby given to the
defendant that the United States will seek forfeiture as part of any sentence in accordance
with 18 U.S.C. § 981 (a)(1)(C), 21 U.S.C. § 853(p), and 28 U.S.C. § 2461(c), in the event

of the defendant’s conviction under Count One of this Indictment.

i)

Pursuant to 18 U.S.C. § 981(a)(1)(C) and 28 U.S.C. § 2461(c), upon conviction of the
offense alleged in Count One of this Indictment, the defendant,
ETHAN GLOVER,

shall forfeit to the United States any property, real or personal, which constitutes or is
derived from proceeds traceable to the offense.
3. The property to be forfeited includes, but is not limited to, a money judgment in the

amount of at least $9,775 in U.S. Currency.
4. If, asa result of any act or omission of the defendant, any of the property described above

as being subject to forfeiture:

a. cannot be located upon the exercise of due diligence;

b. has been transferred or sold to, or deposited with, a third person;

e: has been placed beyond the jurisdiction of the Court;

d. has been substantially diminished in value; or

e has been commingled with other property which cannot be subdivided without
difficulty,
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the United States shall be entitled to forfeiture of substitute property up to the value of the
forfeitable property described above pursuant to 21 U.S.C. § 853(p), as incorporated by
28 U.S.C. § 2461(c).

18 U.S.C. § 981(a)(1)(C)

21 U.S.C. § 853(p)
28 U.S.C. § 2461(c)

(AONATHAN LENZNEB/
ACTING UNITED STATES ATTORNEY

A TRUE BILL:

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Date Forepe

 
